                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                                  5:20-mj-01572-RN

UNITED STATES OF AMERICA                  )
                                          )
              V.                          )             ORDER
                                          )
JABARI DEVON DAVIS                        )


        Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave

of Court endorsed hereon, the United States Attorney for the Eastern District of

North    Carolina    hereby   dismisses       the   Criminal   Complaint   against   the

above-captioned defendant.



       So ORDERED, this 26th day of August, 2020.
Dated: August 26, 2020

                                          ______________________________________
                                          Robert T. Numbers, II
                                          United States Magistrate Judge
                                          Robert T. Numbers, II
                                          United States Magistrate Judge




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